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       Attorney(s) for Rothschild Broadcast Distribution Systems, LLC
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   7
                       IN THE UNITED STATES DISTRICT COURT
   8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
   9

  10
        ROTHSCHILD BROADCAST
        DISTRIBUTION SYSTEMS, LLC,
  11
                           Plaintiff,               CASE NO.: 2:21-cv-06239-MCS-RAO
  12
        v.                                               NOTICE OF VOLUNTARY
  13
                                                         DISMISSAL WITH PREJUDICE
  14    MOBI TECHNOLOGIES, INC.,

  15                       Defendant.
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             Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” and/or

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       “RBDS”) files this Notice of Voluntary Dismissal With Prejudice pursuant to Federal

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       Rule of Civil Procedure 41(a)(1)(A)(i). On September 27, 2021, the Court ordered the

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       parties to file a stipulation of dismissal pursuant to Federal Rule of Civil Procedure

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       41(a)(1)(A); however, Defendant has not made an appearance in this case. Plaintiff

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       respectfully files this Notice of Voluntary Dismissal. According to Rule

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       41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of court by

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       filing a notice of dismissal at any time before service by the adverse party of an

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       answer. Accordingly, Plaintiff hereby voluntarily dismisses this action against

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       Defendant Mobi Technologies, Inc. with prejudice, pursuant to Rule 41(a)(1)(A)(i)

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       with each party to bear its own fees and costs.
                                                1
                           NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
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   1   Dated: November 11, 2021       Respectfully submitted,
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                                            /s/Stephen M. Lobbin
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   8                                        Attorney(s) for Plaintiff Rothschild
                                            Broadcast Distribution Systems, LLC
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  10                            CERTIFICATE OF SERVICE

  11          I hereby certify that on November 11, 2021, I electronically transmitted the
  12   foregoing document using the CM/ECF system for filing, which will transmit the
       document electronically to all registered participants as identified on the Notice of
  13   Electronic Filing, and paper copies have been served on those indicated as non-
  14   registered participants.
                                             /s/ Stephen M. Lobbin
  15                                         Stephen M. Lobbin
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                           NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
